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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 GRANT B. RABENN
   Assistant United States Attorneys
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5
   Attorneys for the
 6 United States of America

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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:13-CR-00136 AWI/BAM
12                                 Plaintiff,               STIPULATION AND ORDER TO SET
                                                            CHANGE OF PLEA HEARING
13   v.
                                                            DATE:       March 10, 2014
14   DAVID RUEM,                                            TIME:       10:00 a.m.
                                                            JUDGE:      Hon. Anthony W. Ishii
15                                 Defendant.
16

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19                                               STIPULATION

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21            The United States of America, by and through its counsel of record, and defendant, by and

22 through his counsel of record, hereby stipulate as follows:
23            1.     The parties have entered into a plea agreement. See ECF No. 201.

24            2.     By this stipulation, the parties move to set a change of plea hearing for March 10,

25                   2014 , before the Honorable Anthony W. Ishii at 10:00 am.

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                                                        1
29        Stipulation and [Proposed] Order Re:
          Change of Plea Hearing
         Case 1:13-cr-00136-DAD-BAM Document 208 Filed 02/19/14 Page 2 of 2



 1 IT IS SO STIPULATED.

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 3

 4 DATED:        February 19, 2014

 5
                                                        /s/ Grant B. Rabenn
 6                                                      GRANT B. RABENN
                                                        Assistant United States Attorney
 7

 8 DATED:        February 19, 2014
 9
                                                        /s/ Wayne C. Fricke
10                                                      WAYNE C. FRICKE
                                                        Counsel for Defendant
11                                                      David Ruem
12

13
                                             ORDER
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15 IT IS SO ORDERED.

16 Dated: February 19, 2014

17                                           SENIOR DISTRICT JUDGE

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29    Stipulation and [Proposed] Order Re:
      Change of Plea Hearing
